Case 14-61109-lrc   Doc 86   Filed 12/04/18 Entered 12/04/18 13:06:23   Desc Main
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 IT IS ORDERED as set forth below:



 Date: December 4, 2018

                                                       _____________________________________
                                                                  Lisa Ritchey Craig
                                                             U.S. Bankruptcy Court Judge

_______________________________________________________________




                  IN THE UNITED STATES BANKRUPTCY COURT
          NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

    IN RE:                     * CASE NO.: 14-61109
                               *
    Shahriar Govahi Kashani, *
                               * CHAPTER:   13
                               *
                               *
              Debtor           *
                  ORDER REOPENING CHAPTER 13 CASE
     This matter arose upon Debtor's "Motion to Reopen Chapter 13
Case" filed in the above-styled case on November 13, 2018,
requesting the case be re-opened to disclose with greater
specificity an asset of the estate.      No hearing is necessary.
Accordingly, it is hereby
     ORDERED that the Debtor's "Motion to Reopen Chapter 13 Case"
is GRANTED: the case is reopened to permit the Debtor to file
amended schedules. And it is further
     ORDERED that if no further action is taken by Debtors or any
creditors within sixty (60) days of the entry of this Order, the
Clerk of this Court shall be authorized to close this case in the
usual manner.

                        [END OF DOCUMENT]
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Prepared by:

    /s/
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Shahriar Kashani
16 Ancient Oak Court
Marietta, GA 30067

And all parties on the attached Mailing Matrix
Label Matrix for Case    14-61109-lrc
                  local noticing             Doc 86Amex Filed 12/04/18 Entered 12/04/18 13:06:23
                                                                                         (p)CAPITAL ONEDesc Main
113E-1                                                  Document
                                                   P.O. Box 981537    Page 3 of 4        PO BOX 30285
Case 14-61109-lrc                                     El Paso TX 79998-1537                                SALT LAKE CITY UT 84130-0285
Northern District of Georgia
Atlanta
Tue Nov 27 15:50:04 EST 2018
E. L. Clark                                           Melissa J. Davey                                     Melissa J. Davey
Clark & Washington, P.C.                              Melissa J. Davey, Standing Ch 13 Trustee             Office of Melissa J. Davey
Bldg. 3                                               Suite 200                                            Standing Chapter 13 Trustee
3300 Northeast Expwy.                                 260 Peachtree Street, NW                             Suite 200
Atlanta, GA 30341-3934                                Atlanta, GA 30303-1236                               260 Peachtree Street, NW
                                                                                                           Atlanta, GA 30303-1236
(p)TMX FINANCE LLC FORMERLY TITLEMAX                  First Premier Bank                                   Fox Collection Cente
15 BULL STREET                                        601 S Minnesota Ave                                  P O Box 528
SUITE 200                                             Sioux Falls SD 57104-4868                            Goodlettsville TN 37070-0528
SAVANNAH GA 31401-2686


Fox Collection Center                                 Andrew D. Gleason                                    Shahriar Govahi-Kashani
456 Moss Trl                                          Lefkoff, Rubin, Gleason & Russo, P.C.                16 Ancient Oak Court NE
Goodlettsville TN 37072-2029                          Suite 900                                            Marietta, GA 30067-4330
                                                      5555 Glenridge Connector
                                                      Atlanta, GA 30342-4762

Hgts Fin                                              INTERNAL REVENUE SERVICE                             Christopher J. Kiefer
1117 Columbia Ave, Ste B                              P O BOX 7346                                         Clark & Washington, LLC
Franklin TN 37064-3616                                2970 MARKET STREET                                   3300 Northeast Expressway
                                                      PHILADELPHIA, PA. 19104-5002                         Building 3
                                                                                                           Atlanta, GA 30341-3932

Merrick Bank                                          Nicholas Financial                                   Nicholas Financial
Po Box 9201                                           2454 McMullen Booth Road                             2454 Mullen Booth Road
Old Bethpage NY 11804-9001                            Bldg C                                               Bldg C
                                                      Clearwater FL 33759-1343                             Clearwater, FL 33759-1343


Nicholas Financial                                    Stallings Fin Group
2454 Mullen Booth Road                                1111 S Marietta Pkwy Se
Clearwater, FL 33759-1343                             Marietta GA 30060-2885




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Cap One                                               Eqautln
Po Box 85520                                          15 Bull Street Suite 200
Richmond VA 23285                                     Savannah GA 31401




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